Case 2:06-cr-20663-AC-DAS ECF No. 607, PageID.3181 Filed 11/13/09 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,                        CRIMINAL NO.06-20663
v.
                                                HONORABLE AVERN COHN
D-10, DEXTER HUSSEY,

              Defendant.
                                          /

                              ORDER DENYING MOTIONS

       This is a criminal case. Defendant is representing himself. Defendant has filed

two motions styled,

       Motion to Dismiss for Failure to Comply with a Court Order, etc., (D/E, 605)

                                              and

       Supplemental Motion to Dismiss for Failure to Comply with a Court Order, etc,.
       (D/E, 606).


       Both motions relate to the government’s obligations to furnish defendant with a

witness list, an exhibit list and a book of exhibits as described in the Court’s order of

October 30, 2009 (D/E, 601). The government has fully complied with its obligations

under the order. The motions have no merit. Therefore the motions are DENIED.

       SO ORDERED.


Dated: November 13, 2009                            s/ Avern Cohn
                                                    AVERN COHN
                                                    UNITED STATES DISTRICT JUDGE

I hereby certify that a copy of this order was served upon Dexter Hussey, 4107 19th
Street, Ecorse, MI 48229, William Ford, Standby Counsel and Dawn Ison, AUSA on this
date November 13, 2009 by ordinary mail and/or electronic mail.

                                                    s/Julie Owens
                                                    Case Manager, (313) 234-5160
